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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA



              APPLE INC.,

                         Plaintiff,

              vs.                                           No. 9:19-cv-81160-RS

              CORELLIUM, LLC,

                         Defendants.

              __________________________/




                                 DEPOSITION OF IVAN KRSTIC

                      HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY




                         Date:              Thursday, March 19, 2020

                         Time               10:05 a.m.

                         Location:          All parties via
                                            videoconference


                         Stenographically reported by:

                                            Nina Pavone, CSR
                                            License No. CSR-7802




                                            *   *   *   *



                    Provided by Martell Associates 800-636-1136
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